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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                      §      CHAPTER 7
                                            §
BEAUTIFUL BROWS LLC,                        §      Case No. 18-66766-jwc
                                            §
       Debtor.                              §

                       FINAL REPORT OF THE CHAPTER 11 TRUSTEE

       S. Gregory Hays, as Trustee (the “Trustee”) for the bankruptcy estate (the “Estate”) of

Beautiful Brows LLC, Debtor (the “Debtor”) in the above captioned case (the “Case”), by and

through counsel, hereby submits this Final Report of the Chapter 11 Trustee (the “Final

Report”) regarding the administration of the Chapter 11 Estate of the Debtor in the Case and, in

accordance with Rule 1019(4) and Rule 1019(5) of the Federal Rules of Bankruptcy Procedure,

provides as follows:

                                      BACKGROUND

       1.     On October 3, 2018 (the “Petition Date”), the Debtor initiated the Case by filing

a voluntary petition for relief under chapter 11 of title 11 of the Bankruptcy Code with the

United States Bankruptcy Court for the Northern District of Georgia (the “Court”).

       2.     On November 21, 2018, the United States Trustee filed a Notice of Appointment

of Chapter 11 Trustee and Setting of Bond [Doc. No. 46] pursuant to which S. Gregory Hays was

appointed as the Chapter 11 Trustee for the bankruptcy estate of the Debtor. After the United

States Trustee filed an Application for Approval of Selection of Appointment of Chapter 11

Trustee [Doc. No. 47] on November 21, 2018, the Court entered an Order Approving

Appointment of Chapter 11 Trustee [Doc. No. 49] on November 26, 2018, to confirm the

appointment of S. Gregory Hays as the Chapter 11 trustee in the Case.
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       3.      On September 3, 2019, the Court converted the Case to a proceeding under

Chapter 7 effective August 30, 2019 [Doc. No. 170] and directed the United States Trustee to

appoint a trustee in the Chapter 7 Case.

       4.      On September 4, 2019, the United States Trustee filed a Notice of Appointment of

Interim Trustee and Section 341(a) Meeting of Creditors [Doc. No. 171] in which S. Gregory

Hays was appointed as interim trustee in the Chapter 7 Case. The Trustee remains the duly acting

Chapter 7 Trustee for the bankruptcy estate of the Debtor.

       5.      Attached as Exhibit A hereto is an overview—based on information currently

available to the Trustee—of the: a) assets scheduled in the Chapter 11 Case and the disposition

of such assets; and b) the assets in the Chapter 7 Case.

                               SCHEDULE OF UNPAID DEBTS

       6.      The Trustee did not have a definitive schedule of all of the unpaid administrative

claims incurred between the Petition Date and the date of conversion to file a report within 14

days of conversion as required under Rule 1019(5). Accordingly, the Trustee has prepared a

Motion to Set Administrative Claims Bar Date to request that the Court establish a deadline by

which administrative claimants—with some exceptions—may file a request for allowance of

administrative expenses incurred in the Chapter 11 Case. The Trustee will review all requests

that may be submitted to the Trustee for allowance and payment of asserted Chapter 11

administrative expense claims.

       7.      As of the date of this Final Report, the Trustee is not aware of any 503(b)(9)

administrative expense claims that were pending against the Estate at the time of conversion or

any other outstanding administrative expense claims other than claims by the Trustee and certain




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professionals engaged by the Trustee for the payment of professional compensation and

reimbursement of expenses.

       8.      The Trustee is aware of unpaid Chapter 11 administrative expense professional

fee claims against the Chapter 11 Estate by the Trustee, Jason L. Pettie, P.C., the Law Offices of

Henry F. Sewell, Jr., LLC, and Hays Financial Consulting, LLC. The Trustee is further aware

that such parties will be asserting Chapter 11 administrative expense professional fee claims

incident to Chapter 11 professional fee application(s) that will be field with the Court in the near

future. The approved Chapter 11 administrative expense professional fee claims will be paid, in

whole or in part, by the Chapter 7 Trustee.

                           CLOSING OF BOOKS AND RECORDS

       9.      The Trustee closed the bank accounts, books and records as of the conversion date

of the Case from Chapter 11 to Chapter 7. The Trustee opened new bank accounts, books and

records for the Chapter 7 Case of the Debtor.

       10.     On September 23, 2019, the Trustee filed a Monthly Operating Report for the

period from August 1, 2019, through September 3, 2019 [Docket No. 184] that set forth the

amount of funds available in the Estate through September 3, 2019.

                 ADMINISTRATION OF ESTATE SINCE CONVERSION

       11.     Since the Case was converted, the Chapter 7 Trustee has continued to administer

the Estate.

                             [Remainder of Page Intentionally Blank]




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        Respectfully submitted this 30th day of September, 2019.


                                   Respectfully submitted,

                                   LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                   /s/ Henry F. Sewell, Jr.
                                   Henry F. Sewell, Jr.
                                   Georgia Bar No. 636265
                                   Buckhead Centre
                                   2964 Peachtree Road NW, Suite 555
                                   Atlanta, GA 30305
                                   (404) 926-0053
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                                   Counsel for S. Gregory Hays, Trustee for the bankruptcy
                                   estate of Beautiful Brows LLC, Debtor




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                                                               Exhibit “A”

Chapter 11 Scheduled Assets                                             Scheduled Value             Disposition            Remaining Value
Platinum Federal Credit Union                                                    $42.87   Account Closed During Chapter
                                                                                          11 Case                                    $0.00
Accounts Receivable (Over 90 Days)                                           $90,000.00   Receivable from Tucker
                                                                                          Imports. Trustee recovered and
                                                                                          sold personal property of
                                                                                          Tucker Imports for a gross price
                                                                                          of $ $34,098. See Report of
                                                                                          Sale.
Misc. Office furniture and supplies located at Debtor's home office           $1,100.00   Sold Per Order, Docket # 97.
                                                                                                                                     $0.00
Town Center at Cobb: Misc. Salon Equipment, Materials, and                   $10,803.00   Any valuable equipment
furnishings located at Town Center at Cobb Mall (See attached list)                       recovered and sold at auction.
                                                                                          Some salon equipment
                                                                                          abandoned as no value to estate.
                                                                                                                                     $0.00
Mall of Ga: Misc. Salon Equipment, Materials, and furnishings                 $9,376.00   Mall of Georgia & Arbor Place
located at Mall of Georgia                                                                locations and contents sold for
                                                                                          gross price of $285k. Docket
                                                                                          Report of Sale #151                        $0.00
Arbor Place: Misc. Salon Equipment, Materials, and furnishings                $9,146.00   Mall of Georgia & Arbor Place
located at Arbor Place Mall                                                               locations and contents sold for
                                                                                          gross price of $285k. See
                                                                                          Report of Sale on Docket #151              $0.00
3 Laser Hair Removal Machines                                                $90,000.00   Two laser hair removal
                                                                                          machines sold in auction for
                                                                                          $58,040 and one sold with
                                                                                          Business. See Docket # 151.                $0.00
2014 Acura MDX (94,000 miles)                                                $14,900.00   Sold for $13,700                           $0.00
2013 Mercedes GL350 (86,000 miles)                                           $20,500.00   Sold for $18,100.                          $0.00
Potential claim against Arbor Place Mall for the mall's violation the         Unknown     Not administered
exclusivity clause in Debtor's lease agreement                                                                                     Unknown

                                                                           $245,867.87                                              $0.00


Chapter 7 Assets                                                                                                              Value
Cash Turned over to Chapter 7 Trustee                                                                                         $305,928.30
Funds Setoff by First Data                                                                                                     $15,916.60
Avoidance Actions Claims                                                                                                         Unknown

                                                                                                                              $321,844.90
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the within and foregoing Final Report of
the Chapter 11 Trustee was served via the Court’s ECF system to all parties registered with the
system who have filed appearances and requested notices and via first class United States Mail
in prepaid envelopes on the following:

       Office of the United States Trustee
       c/o Lindsay P. S. Kolba, Esq.
       362 Richard B. Russell Federal Building
       75 Ted Turner Drive, SW
       Atlanta, Georgia 30303

       Dated this 30th day of September, 2019.

                                    LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                    /s/ Henry F. Sewell, Jr.
                                    Henry F. Sewell, Jr.
                                    Georgia Bar No. 636265
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                                    Counsel for S. Gregory Hays, Trustee for the bankruptcy
                                    estate of Beautiful Brows LLC, Debtor
